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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

 STATE OF TEXAS, et al.,     §
                             §
      Plaintiffs,            §
                             §
   v.                        §                    No. 3:23-cv-17 (consolidated
                             §                    with No. 3:23-cv-20)
                             §
 UNITED STATES ENVIRONMENTAL §
 PROTECTION AGENCY, et al.,  §
                             §
      Defendants,            §
                             §
 BAYOU CITY WATERKEEPER,     §
                             §
      Intervenor-Defendant.  §



             JOINT DISCOVERY/CASE MANAGEMENT PLAN
                           under Rule 26(f) of the
                       Federal Rules of Civil Procedure
          (Please restate the instruction before furnishing the responsive
                                    information.)
1. State where and when the conference among the parties required by Rule
   26(f) of the Federal Rules of Civil Procedure was held, and identify the
   counsel who attended for each party, including name, address, bar number,
   phone and fax numbers, and email addresses. Note: The Rule 26(f)
   conference must be held in person or by phone, not simply over email.
The parties held the conference on March 22, 2023, by Teams meeting. The
following counsel attended:
 Party                             Counsel
                                     1. Amber Ahmed (Texas), TX Bar No.
 Plaintiffs State of                    24080756, S.D. Tex. Bar No.
 Texas et al.                           3135176,
                                        amber.ahmed@oag.texas.gov
                                     2. Logan Harrell (Texas), TX Bar No.
                                        24106054,


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                                3. Joshua Turner (Idaho), MN Bar No.
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                                    Office of the Attorney General
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                                    Boise, Idaho 83720-0010
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                                    Fax: (208) 854-8071
                                1. Timothy Bishop, IL Bar No. 6198062,
Plaintiffs American                tbishop@mayerbrown.com
Farm Bureau
Federation (“Business
Plaintiffs”) et al.                71 South Wacker Dr.
                                   Chicago, Illinois 60606
                                   3120782-0600

                                2. James Danford, TX Bar No. 24105775, S.D.
                                   Tex NO. 3150442,
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                                   700 Louisiana St., Suite 3400
                                   Houston, TX 77004
                                   713-238-2700

                                3. Brett Legner, IL Bar No. 6256268,
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                                4. Kevin Ranlett, TX Bar No. 24084922,
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                                1. Andrew Doyle,
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                                   S.D. Tex. Bar No. 1143161,
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                                2. Elliot Higgins,
                                   NY Bar No. 5737903; S.D. Tex. Bar No.
                                   3696295, elliot.higgins@usdoj.gov

                                3. Hubert Lee,
                                   NY Bar No. 4992145; S.D. Tex. Bar No.
                                   3835753, hubert.lee@usdoj.gov

                                4. Sarah Izfar,
                                    DC Bar No. 1017796; S.D. Tex. Bar. No.
                                   3528936, sarah.izfar@usdoj.gov

                                   United States Department of Justice
                                   Environmental Defense Section
                                   P.O. Box 7611
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                                   Tel: (415) 744-6469 (Doyle)
                                   Tel: (202) 305-0490 (Izfar)
                                   Tel: (202) 514-1806 (Lee)
                                   Tel: (202) 514-3144 (Higgins)
                                   Fax: (202) 514-8865

                                1. Caroline Crow, TX Bar: 24118360,
Defendant-Intervenor               S.D. Tex. Bar No. 3686825,
Bayou City                         ccrow@earthjustice.org
Waterkeeper
                                   845 Texas Ave., Suite 200
                                   Houston, TX 77002
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                                2. Stu Gillespie, CO Bar No. 42861,
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                                            633 17th St., Suite 1600
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                                        3. Adrienne Lee, DC Bar No. 1742666,
                                           alee@earthjustice.org

                                            1001 G St. NW, Suite 1000
                                            Washington, DC 20001
                                            Tel: 202-667-4500
                                            Fax: 202-667-2356


 2. List the cases related to this one that are pending in any state or federal court
    with the case number and court, and state how they are related.

Related cases are: Commonwealth of Kentucky v. EPA, No. 3:23-cv-7 (E.D. Ky.)
consolidated with Kentucky Chamber of Commerce v. EPA, No. 3:23-cv-8 (E.D.
Ky.); and State of West Virginia v. EPA, No. 3:23-cv-32 (D.N.D.). Like these
consolidated cases, the related cases involve challenges to the final rule entitled
Revised Definition of “Waters of the United States,” 88 Fed. Reg. 3004 (Jan. 18,
2023).

 3. Briefly describe what this case is about.

Plaintiffs in these consolidated cases challenge the final rule entitled Revised Definition
of “Waters of the United States,” 88 Fed. Reg. 3004 (Jan. 18, 2023) (“Rule”). The Rule
revises the definition of “waters of the United States” in EPA’s and the Army Corps of
Engineers’ regulations. Clean Water Act section 502(7) defines “navigable waters” as
“the waters of the United States, including the territorial seas,” 33 U.S.C. § 1362(7). The
term “navigable waters” and its definition are relevant to the scope of many Clean Water
Act programs.

 4. Specify the allegation of federal jurisdiction.

Plaintiffs State of Texas and State of Idaho et al. allege federal jurisdiction by virtue of
28 U.S.C. §§ 1331 (federal question), 2202 (further necessary relief), and 5 U.S.C.
§§ 701–706 of the Administrative Procedure Act (“APA”). Am. Compl., Dkt. No. 32
¶ 20. Plaintiffs American Farm Bureau et al. allege federal jurisdiction under 28 U.S.C.
§ 1331. Am. Compl., No. 3:23-cv-20, Dkt. No. 12 ¶ 11.

 5. Name the parties who disagree with the plaintiff’s jurisdictional allegations
    and state their reasons.


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Federal Defendants reserve their right to assert that the Court lacks jurisdiction
(in whole or in part) including but not limited to arguments that the Court lacks
jurisdiction to order the requested relief, that Plaintiffs lack Article III standing,
and that Plaintiffs’ claims are unripe.

 6. List anticipated additional parties that should be included, when they can
    be added, and by whom they are wanted.

None.

 7. List anticipated interventions.

None.

 8. Describe class-action issues.

Not applicable.

 9. State whether each party represents that it has made the initial disclosures
    required by Rule 26(a)(1). If not, describe the arrangements that have been
    made to complete the disclosures.

The parties have not made initial disclosures. The parties agree that disclosures of this
type are not appropriate in these consolidated cases as explained further in paragraph 10
below.
 10. Describe the proposed agreed discovery plan, including:

         a. discovery is needed on the following subjects:

         b. the date experts for plaintiff (or party with the burden of proof on an
            issue) will be designated and their reports provided to opposing party:

         c. the date experts for defendant will be designated and their reports
            provided to opposing party:

         d. the date discovery can reasonably be completed:

The Parties agree that the Court’s review in APA cases is typically limited to the
administrative record. On February 24, 2023, Federal Defendants filed the certified
index to the Rule’s Administrative Record, which includes hyperlinks to record
documents on regulations.gov. See Dkt. No. 31. At this time, the parties agree that
discovery is unwarranted here and are reviewing whether motions related to the
completeness of the Administrative Record are appropriate. If and to the extent that
jurisdiction exists, this case may be resolved on cross-motions for summary judgment


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based on the Administrative Record, after any record-completeness motions are resolved.
Federal Defendants have filed an answer to the State Plaintiffs’ Amended Complaint,
Dkt. No. 61. After responding to the Business Plaintiffs’ Amended Complaint, which is
due on or before April 17, 2023, the parties will confer on a schedule for further
proceedings. As discussed during the parties’ conference on March 22, 2023, Defendant-
Intervenor Bayou City Waterkeeper will file any responsive pleadings by April 17, 2023.

 11. If the parties are not agreed on a part of the discovery plan, describe the
     separate views and proposals of each party.

Not applicable.

 12. Specify the discovery beyond initial disclosures that has been undertaken to date.

None.

 13. Describe the possibilities for a prompt settlement or resolution of the case
     that were discussed in your Rule 26(f) meeting.

The parties agree that settlement is unlikely in this type of APA case due to the
differing views on legal issues and relief requested.

 14. Describe what each party has done or agreed to do to bring about a prompt
     resolution of this dispute.

The parties have agreed to confer on scheduling and attempt to reach agreement.
All parties seek to resolve this case efficiently.

 15. From the attorneys' discussion with their client(s), state the alternative
     dispute resolution techniques that are reasonably suitable.

The parties anticipate that, if and to the extent that jurisdiction exists, this case
may be resolved on cross-motions for summary judgment. Accordingly, the
parties agree that alternative dispute resolution does not seem suitable to this
case.

 16. With the consent of all parties, United States Magistrate Judge Andrew
     Edison may preside and hear jury and non-jury trials. Indicate the parties’
     joint position on a trial before Magistrate Judge Edison.

The parties do not believe a trial is appropriate for this type of APA case and do
not consent to a trial before Magistrate Judge Edison.

 17. State whether a jury demand has been made and if it was made on time.

A jury demand has not been made.


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 18. Specify the number of hours it will take to try this case (including jury
     selection, presentation of evidence, counsel's opening statements and
     argument, and charging the jury).

The parties anticipate that, if and to the extent that jurisdiction exists, the case
may be resolved on cross-motions for summary judgment.

 19. List pending motions that could be ruled on at the initial pretrial conference.

None.

 20. List other motions pending.

None.

 21. Indicate other matters peculiar to this case, including but not limited to
     traditional and electronic discovery issues, that deserve the special attention
     of the court at the conference.

None.

 22. Certify that all parties have filed Disclosure of Interested Parties as directed
     in the Order for Conference and Disclosure of Interested Parties, listing the
     date of filing for original and any amendments. DO NOT STATE THAT
     THE DISCLOSURE OF INTERESTED PARTIES WILL BE FILED IN
     THE FUTURE.

Texas Plaintiffs filed their certificate of interested parties on February 2, 2023. Dkt. No.
11. Plaintiffs American Farm Bureau et al. filed their certificate of interested parties on
February 2, 2023. Case No. 3:23-cv-20, Dkt. No. 13. Defendant-Intervenor Bayou City
Waterkeeper filed their certificate of interested parties on March 23, 2023. Dkt. No. 62.
Idaho Plaintiffs filed their certificate of interested parties on March 24, 2023. Dkt. No.
64. Federal Defendants filed their certificate of interested parties on February 14, 2023,
Dkt. No. 29, and filed their amended certificate of interested parties on March 24, 2023.
Dtk. No. 63.



/s/ Amber Ahmed                                            3/24/2023

Counsel for Plaintiffs State of Texas et al.                              Date




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/s/ Joshua Turner                                       3/24/2023

Counsel for Plaintiff State of Idaho                                Date

/s/ Timothy Bishop                                      3/24/2023

Counsel for Plaintiffs Am. Farm Bureau Fed’n et al.                 Date

/s/ Sarah Izfar (with permission of Andrew Doyle)       3/24/2023

Counsel for Federal Defendants                                      Date

/s/ Stu Gillespie (with permission of Jennifer Powis)   3/24/2023

Counsel for Defendant-Intervenor                                    Date




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                           CERTIFICATE OF SERVICE

I hereby certify that on March 24, 2023, I filed the foregoing using the Court’s CM/ECF
system, which will electronically serve all counsel of record registered to use the
CM/ECF system.

                                                 /s/ Sarah Izfar




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